Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 1 of 9
                                                                           FILED BY                 D.C.

                                                                                A?2 1 12210
                            UNITED STATES DISTRICT COURT                         ANGELA E.NOBLE
                            SOUTHERN DISTRICT OF FLORIDA                         Ctj
                                                                                 s..-,.
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                                                                                                TAMI
                                                                                                MiC:L
                            CASE NO.17-20412-CR-M IDDLEBRO OK S(s)(s)
                                        21U.S.C.1963
                                        21U.S.C.5853
  UN ITED STATE S O F A M ER ICA

  VS.

  M M ON A NTO N IO D EL R O SAR IO PU EN TE ,
        a/k/a Tono Lena,''
  JEIFRY DEL ROSARIO GAUTIER ,
  DARYS JO SE BAEZ M ELO ,
  CESAR EM ILIO PERALTA,
        a/k/a (CEIA busadory''
        a/k/a upatron,''
        a/k/a çdcabezon,''
        a/k/a GG ASELM ,''and
  JOSE JESUS TAPIA-PEREZ,
        a/k/a RBola N egra,''
        a/k/a éçBola9''
       a/k/a RBoludoy''

        D efendants.
                                                      /



                          SE CO ND SUPER SED IN G IN D ICTM EN T

        TheGrand Jtzry chargesthat:

                                         C O UN T 1
        Beginning atleastas early asin oraround January 2015, the exactdate being unknown to

 the Grand Jury,and continuing to the date ofthisIndictment, in the countriesofthe Dominican

 Republic,Colom bia,and elsewhere, the defendants,

                       R AM O N A N TO N IO D EL R O SAR IO PUEN TE ,
                                     a/k/a Tono Lena,''
                            JEIFR Y DE L RO SA R IO G A U TIER ,
                               D AR Y S JO SE BAEZ M ELO ,
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 2 of 9
                                                                               FILED BY                  D C.
                                                                                                          .




                                 CESAR EM ILIO PER ALTA,                             AF2 1 12919
                                     a/k/a UEIA busador,''
                                        a/k/a Gpatron,''                             tïK'
                                                                                     c  '
                                                                                        lllî/fz
                                                                                     S.D.OFFt.A.-MIAM1
                                       a/k/a dçcabezons''
                                    a/k/a RGASELAJ,Mand
                                 JO SE JESU S TAPIA -PE REZ ,
                                      a/k/a $$BoIa N egra,''
                                         a/k/a RBola ''
                                        a/k/a çsBoludo,''

  did knowingly and willfully com bine, conspire,confederate,and agree with each otherand with

  other persons known and unknown to the Grand Jury, to distribute a controlled substance in

  Schedule ll,intending,knowing,and having reasonable cause to believe that such controlled

  substancewould belawfully imported into theUnited States, in violation ofTitle 21,U nited States

  Code,Section959(a)(2);al1inviolationofTitle21,United StatesCode,Section963         .



         Thecontrolled substance involved in the conspiracy attributableto thedefendantsasa

  resultoftheirown conduct,and the conductofotherconspiratorsreasonably foreseeable to

 the defendants,is five (5) kilograms or more of a m ixture and substance containing a
 detectable am ount of cocaine, in violation of Title 21, United States Code, Section

 960(b)(1)(B).
                               FO R FEITU RE A LLEG ATIO N S

  1.    TheallegationsofthisSecond Superseding lndictmentarere-alleged and by thisreference

 fully incorporated herein forthepurpose ofalleging forfeitureto theUnited StatesofAmericaof

 certain property in w hich the defendants, R AM O N A NT O N IO D EL R O SA R IO PUEN TE ,

 a/k/a Tono Lena,''JEIFRY DEL RO SARIO G AUTIER , DARYS JOSE BAEZ M ELO,

 CE SA R EM ILIO PER AL TA,a/k/a GEIA busador,''a/k/a Gpatron,''a/k/a Gcabezon,''a/k/a

 RGASELAJ,M and JOSE JESUS TAPIA-PEREZ,a/k/a itBola Negra,''a/k/a RBolay''a/k/a
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 3 of 9



  GBoludo,''havean interest.

           Upon conviction of the violation alleged in this Second Superseding Indictment the
                                                                                         ,

  defendantsshalleach forfeitto the United Statesany property constituting, orderived from ,any

  proceedsobtained,directly or indirectly, as aresultofsuch violation,and any property thatwas

  used orintended to be used,in any m armerorparq to com mitorto facililtethe com mission of

  such violation.

           Allpursuantto Title 21,United StatesCode, Sections853 and 970,and Title28, U nited

  StatesCode,Section 2461(c).
                                                   A TRU E B ILL


                                                   FOREPERSON

   t                p -u u
 ARIAN A ORSHA N FA JA RD O
 U N ITED STA TES A TTO RN EY


       <             '
            .



 RICHARD E. G ETCHELL y,    '
 A SSISTAN T U N ITED STA TES ATTO RN EY
 Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 4 of 9
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA                      CASE NO.              1?-20412-CR-DMM(s)(s)
  VS.
  RAMON ANTONIO DEL ROSARIO                     CERTIFICATE O F TRIAL ATTO RNEY*
  PUENTE,etaI.,
                Defendants.
                                         l      Supeo eding Case Information:

 CourtDivision:(sel
                  edone)                        New Defendantts)
                                                N                                      Yes       X            No
                                                 umberofNew Defendants                                   1
   X F
     Mi
      TaLmi                w
                           Ke)BWest      FTp    Totalnumberofcounts                                      1

        ldo hereby certify that:
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                pravecear
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        2.      Iam tpIwar
                Cour      etit
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                                                    schedul   hiq ltatementwillbe relied upon by the Judges ofthis
                                                                lmlnaltrlalsunderthemandateoftheSpeedyTrialAct
                Ti
                 tl
                  e 28 U.S.C.Sectlon 3161.                                                                                      ,


                lqtemreter:        (YesQrNo)     Yes
               LlstIanguage and/ordl
                                   alect                Spanish
               This casewilltake      0-5   daysforthe padi esto try.
        5.     Pleasecheckappropriate categoryand type ofoffense Iisted below:
               tchecRonlyone)                                     (Checkonlyone)
               0 to 5 days                        X                         P:tty
               6 to 10 days                                                 Mlnor
               11to 20 days                                                 Mlsdem .
               21
               61t o 60an
                  days days
                         d over                                             Felony                   X

        6.     HasthiscasebeenpreviouslyfiledinthisDistrictCoud? (YesorNo)       Yes
         I
         fyes:
        Judge:
        (Att MIDDLEBROOKS                         case No         IZ-ZO4IZ-CR-MIDDLEBROOKSIS)
                                                                  .

        H achcöpypfdispositiveprdej
        IfasacomplalntbeenfiledInthlsmatter?      (YesorNo)        Yes
        Myeq:
         aglstrate Case No.
        Related Misc:llaneousnumbers:
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        Refendantts)lnstatecustodyasof
         ule 20 from the                               Districtof
        Isthisapotenti
                     aldeathpenaltycase?(YesorNo)             HN
               Doesthiscaseoriginatefrom amat
                                           Yterpending inthe NodhernRegi
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                                                                                       .   ?/'       //

                                                         CHARD E.GETCHELL
                                                       ASSISTANT UNITED STATES AU ORNEY
                                                       Fl
                                                        orida BarNo./coud No.817643

*penal
     tySheetls)attached                                                                                            REV 5/3/17
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 5 of 9



                            UNITED STATES DISTRICT COURT
                            SO U TH ERN D ISTR ICT O F FLO R ID A

                                      PEN A LTY SHEET

  D efendant's N am e: M M O N AN TO N IO D EL R O SA RIO PU EN TE

  CaseNo:       17-20412-CR-M 1DDLEBROOKS(s)(s)
  Count#:1

  Conspiracy to distribute cocaineoutsidetheUnited States.knowingitwould beim ported into
  1heU nited Syqtes       - .




  Title21*United StatesCode.Section 963

  *M ax.Penalty:       Lifelmprisonment




  *Refers only to possible term of incarceration,doesnotinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 6 of 9



                            UNITED STATES DISTRICT COURT
                            SO UTH ERN DISTRICT O F FLO RIDA

                                       PENA LTY SH EET

  Defendant'sNam e: JEIFRY DEL RO SARIO GAUTIER

  CaseNo:        17-20412-CR-M 1DDLEBROOKS(s)(s)
  Count#:1

  Conspiracv to distributecocaine outside the United States. knowinc itwould be imported into
  theUnited States

  Title21.United StatesCode.Section 963

  *M ax.Penalty:       Life lm prisonm ent




 WRefers only to possible term ofincarceration,does notinclude possible fines,restitution,
 specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 7 of 9



                            UNITED STATES DISTRICT COURT
                            SO UTHERN DISTRICT OF FLORIDA

                                       PEN A LTY SHEET
  Defendant'sNam e: DARYS JOSE BAEZ M ELO

  CaseNo:        17-20412-CR-M 1DDLEBROOKS(s)(s)
  Count#:l

  Conspiracyto distribute cocaineoutsidetheUnited States. knowing itwould beim ported into
  theUnited States

  Title21sUnited StatesCode. Section 963

  *M ax.Penalty:       LifeImprisonment




 *Refers only to possible term ofincarceration, does notinclude possible fines,restitution
 specialassessm ents,parole term s,or fod eitures thatm ay be applicable.                 ,
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 8 of 9



                            U N ITE D STA TES D IST RIC T C O U RT
                            SO U TH E RN D ISTR ICT O F FLO RID A

                                       PEN A LTY SHEET

  Defendant'sName: CESAR EM ILIO PEM LTA

  CaseNo:        17-20412-CR-M IDDLEBROOKS(s)(s)
  Count#:1

  Conspiracy to distribute cocaineoutsidetheUnited Statess knowingitwould beim ported into
  the U nited States

  Title21.United StatesCode-Section 963

  *M ax.Penalty:       Life Im prisonm ent




  *R efers only to possible term ofincarceration,does not include possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:17-cr-20412-DMM Document 12 Entered on FLSD Docket 04/12/2019 Page 9 of 9



                            UNITED STATES DISTRICT COURT
                            SO UTHERN DISTRICT OF FLORIDA

                                       PEN A LTY SHEET
  Defendant'sName: JO SE JESUS TAPIA-PEREZ

  CaseNo:        17-20412-CR-M 1DDLEBROOKS(s)(s)

  Count#:1

  Conspiracyto distributecocaineoutsidethe United Statess knowing itwould be im ported into
  theUnited States

  Title21.United StatesCode. Section 963

  *M ax.Penalty:       Life Im prisonm ent




 *Refersonly to possible term ofincarceration, does not include possible fines,restitution,
 specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
